      Case: 1:21-cv-04707 Document #: 1 Filed: 09/02/21 Page 1 of 8 PageID #:1



                    IN THE UNITED STATES DISTRICT COUT
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVIS
                                                                                FTLIUD
JARRAD WOODSON,                               )                                        sP 02 2l[l s]r
         Plaintiff,                           )
                                              )       Case No.                      THOlltSQ BRUIO],|
       vs.                                                                      ctERK U.S. osrRcr corJRr
                                              )
                                              )       II TN/aE
The CITY OF CHICAGO, a municipal              )    1:21<lr44747
Corporation, CHICAGO POLICE                   )    District Judge Andrea R. Wood
DEPARTMENT,                                   )    Magistrate Judge Sunil R. Hafiani
a municipal entity                            )    RANDOM
& PHTLLP FOX (#7290)                          )
                                              )
                      Defendant               )       Jury Trial Demanded


                    PLAINTIFF JARRAD WOODSON'S COMPLAINT

       NOW COMES Plaintiff Jarrad Woodson (hereinafter referred to as "Plaintiffl, through

his own representation as counsel, for Plaintiff s Complaint and Jury Demand against

Defendants PHILLP FOX and the CITY OF CHICAGO, Illinois, a municipal corporation, and

CHICAGO POLICE DEPARTMENT, a municipal entity. Plaintiff states as follows:

                                  JURISDICTION & VENUE

       1   .   This action is brought pursuant to 42 U.S.C. $ 1983 to redress the deprivation of

   rights under color of law of PlaintifPs rights as secured by the Unites States Constitution.

       2.      This Court has jurisdiction of the action pursuant to 28 U.S.C. $1331 and 9167.

       3.      Venue is proper under 28 U.S.C $1391(b). The events giving rise to the claims

   asserted in this Complaint occurred within this district.

                                            PARTIES

       4.      Plaintiff, Jarrad Woodson, is a resident of Chicago, Illinois.
  Case: 1:21-cv-04707 Document #: 1 Filed: 09/02/21 Page 2 of 8 PageID #:2



   5.      At all times Defendant PHILLP FOX was a CITY OF CHICAGO Police Officer,

employed by Defendant CITY OF CHICAGO and the CHICAGO POLICE DEPARTMENT,

acting under color of law and within the course and scope of their employment.

   6.      Defendant CITY OF CHICAGO is a municipal corporation, duly incorporated

under the laws of the State of Illinois, and at the time of this incident, and the CHICAGO

POLICE DEPARTMENT, a municipals entity, was the employer and principal of Defendant

PHILLIP FOX. Should Plaintiff prevail on his claims, Defendant CITY OF CHICAGO and

CHICAGO POLICE DEPARTMENT must indemniff Defendant PHILLP FOX on

Plaintiff s claims pursuant to 745ILCS l0i9-102.

                                           FACTS

    7.     On January 23,2021, Plaintiff was involved in a minor rear-end collision located

in the back alley south of 2245 W. Roscoe St.

    8.     The Chicago Police Department was called by the other driver to hle a report.

Plaintiff and the other driver waited for an officer to arrive to the scene.

    9.     Defendant, Chicago Police Officer, PHILLP FOX anived on the scene in a

market Chicago Police SUV.

    10.    Upon arrival Defendant PHILLP FOX notified both Plaintiff and the other driver

that his Body-Wom Camera was activated and that it was recording.

    11. Approximately three minutes after a:rival, Defendant PHILLIP FOX announced
that he was turning the Body-Wom Camera off.

    12. Defendant PHILLIP FOX asked Plaintiff and the other driver for driver's licenses
and proof of insurance, which were tendered to Defendant by PHILLIP FOX.
  Case: 1:21-cv-04707 Document #: 1 Filed: 09/02/21 Page 3 of 8 PageID #:3




    13.     Defendant PHILLIP FOX explained that dispatch confirmed that the other

driver's license was valid.

    14. Defendant PHILLIP FOX then explained to Plaintiff that his driver's license had
been expired.

    15.     Plaintiffexplained to Defendant PHILLP FOX that the Secretary of State of

Illinois had extended driver's license expiration dates to June 1, 202I.

    16.     Defendant PHILLP FOX explained that he needed to confirm the extension with

dispatch.

    17. At this time Defendant PHILLIP FOX told the other driver that he could leave the
scene but instructed Plaintiff to stay.

    18.     The other driver left the scene.

    19.     Defendant PHILLP FOX walked to back his police SUV and then, after several

minutes, walked back to Plaintiff and explained that the driver's license extension was

confirmed and valid.

    20.     Defendant PHILLP FOX then explained to Plaintiff that he would still issue a

traffic ticket for driving with an expired driver's license.

    21.     Defendant PHILLP FOX then walked back to his police SUV and then returned

with a haffic ticket and asked Plaintiffto sign the ticket.

    22.     Plaintiff signed the ticket then Defendant PHILLIP FOX informed Plaintiff that

he would have to take him to the police station to sign get an "I-Bond".

    23.     Plaintiff explained to Defendant PHILLP FOX that his driver's license was still

valid because of the Secretary of State's extension.
  Case: 1:21-cv-04707 Document #: 1 Filed: 09/02/21 Page 4 of 8 PageID #:4



    24.       Defendant PHILLP FOX explained that I was to be taken in because there was

ooproperty
             damage to both vehicles."

    25. Plaintiff believed he was not allowed to leave the scene on his own while in the
presence of Defendant PHILLIP FOX.

    26.       Defendant PHILLP FOX told Plaintiffto relocate his vehicle to a parking space

on the adjacent street.

    27.       Plaintiff backed his vehicle out of the alley way onto North Oakley St. Defendant

PHILLP FOX escorted Plaintiff to the parking space.

    28.       Plaintiff parked his vehicle and exited and was then escorted by Defendant

PHILLP FOX back to the police SUV.

    29.       Defendant PHILLIP FOX told Plaintiffto enter the back seat of the police SW.

    30.       Defendant PHILLP FOX began to drive to the police station located at Addison

and Halsted St. Unit 019.

    31.       While driving to the police station Defendant PHILLP FOX asked Plaintiff

"'Where did you read that extension?" Plaintiff responded, 'oThe Secretary of State's

website."

    32.       Defendant PHILLP FOX responded by telling Plaintiff that he should have

"known to renew his driver's license."

    33.       After arriving to the police station Defendant PHILLP FOX took Plaintiff from

the Police SUV and escorted him through front entrance.

    34.       Plaintiff received his bond paperwork and was then told he could leave.

    35.       Plaintiff was issued a traffic ticket under the number TU-331-860 and a $1,500 I-

Bond.
   Case: 1:21-cv-04707 Document #: 1 Filed: 09/02/21 Page 5 of 8 PageID #:5




   36.     The court date listed on the ticket was March 23,2021at l:30pm in courtroom

CL05 at the Daley Center.

   37.     Defendant PHILLP FOX seized Plaintiff s driver's license and Plaintiff was

forced to pay for transportation to go home.

   38.     As a result of this incident Plaintiff suffered and continues to suffer from intense

emotional distress, embarrassment, and humiliation.

    39.    Defendant PHILLP FOX arrested Plaintiff after acknowledging that Plaintiff

correctly stated the law.

    40. On March 19,2021Plaintifffrled a Motion to Dismiss the Complaint under
complaint number TU-33 1 -850.

    41.     On March 22,2021Chicago Corporate counsel called the Plaintiff and explained

that they had received the Motion to Dismiss the Complaint under complaint number TU-

331-850 and that the case would be dismissed.

    42.     On March 23,2021, the complaint under complaint number TU-331-850 was

dismissed Motion City Nonsuit.

                                        COTJNT I
                             (42 U.S.C. S 1983 False Arrest)
                            Against Defendant PHILLP FOX

    43. Each of the foregoing paragraphs is incorporated as if fully restated herein.
    44.     Defendant PHILLP FOX a:rested Plaintiff without probable cause.

    45. Defendant PHILLP FOX acknowledged the amendment to driver's license
expiration dates to Plaintiff.

    46.     Defendant PHILLIP FOX intentionally ignored the law and related ordinances

and violated Plaintiffls Fourth Amendment rights.
   Case: 1:21-cv-04707 Document #: 1 Filed: 09/02/21 Page 6 of 8 PageID #:6



    47.       As a result, Plaintiff suffered loss of liberty and property and other damages,

which will be proven at trial.

WHEREFORE, Plaintiff demands judgment against Defendant for compensatory damages,

punitive damages, costs, and such other relief that this Court deems equitable and just.

                                          COTINT II
                        (Illinois State Law - Malicious Prosecution)
             Against Defendants PHILLP FOX, the CITY OF CHICAGO, and
                         the CHICAGO POLICE DEPARTMENT

    48.       Each of the foregoing paragraphs is incorporated as if fully restated herein.

    49.       Defendants, PHILLIP FOX, the CITY OF CHICAGO, and the CHICAGO

POLICE DEPARTMENT, through its employee and agent, caused criminal proceedings to

be initiated against Plaintiff.

    50.       The Defendants, PHILLIP FOX, the CITY OF CHICAGO, and the CHICAGO

POLICE DEPARTMENT through its employee and agent, arrested Plaintiff without

probable cause, ignored state law and related ordinances, and placed false charges upon

plaintiff.

    51.       Defendants, PHILLP FOX, the CITY OF CHICAGO, and the CHICAGO

POLICE DEPARTMENT, through its employee and agent, undertook these actions

intentionally and with malice.

    52.       The actions undertaken by Defendants PHILLIP FOX, the CITY OF CHICAGO,

and the CHICAGO POLICE DEPARTMENT, through its employee and agent were willful

and wanton.

    53.       As a result of Defendants PHILLIP FOX, the CITY OF CHICAGO, and the

CHICAGO POLICE DEPARTMENT through its employee and agent, misconduct, Plaintiff
   Case: 1:21-cv-04707 Document #: 1 Filed: 09/02/21 Page 7 of 8 PageID #:7



suffered damages including emotional distress, pain and suffering, and other damages which

will be proven at trial.

WHEREFORE, Plaintiff demands judgment against Defendants for compensatory damages,

punitive damages, costs, fee, and such other relief that this Court deems equitable and just.

                                        COT]NT III
           (Illinois State Law - Intentional Infliction of Emotional Distress)
          Against Defendants PHILLP FOX, the CITY OF CHICAGO, and
                        the CHICAGO POLCIE DEPARTMENT

    54. Each of the forgoing paragraphs is incorporated as if fully restated herein.
    55.     As stated more fully above, the conduct of Defendants PHILLIP FOX, the CITY

OF CHICAGO, and the CHICAGO POLICE DEPARTMENT, through its employee and

agent, was extreme and outrageous in numerous ways, as stated more fully in and throughout

this Complaint.

    56. Defendants PHILLIP FOX, the CITY OF CHICAGO, and the CHICAGO
POLICE DEPARTMENT, through its employee and agent, intended to inflict servere

emotional distress on Plaintiff.

    57.     Defendants PHILLP FOX, the CITY OF CHICAGO, and the CHICAGO

POLICE DEPARTMENT, through its employee and agent, knew that their misconduct had a

high probability of inflicting severe emotional distress on Plaintiff.

    58.     Defendants PHILLP FOX, the CITY OF CHICAGO, and the CHICAGO

POLICE DEPARTMENT, through its employee and agent, misconduct cause Plaintiff to

experience severe emotional distress.

WHEREFORE Plaintiff demands judgment against Defendants for compensatory damages,

punitive damages, costs, fees, and such other relief that this Court deems equitable and just.
     Case: 1:21-cv-04707 Document #: 1 Filed: 09/02/21 Page 8 of 8 PageID #:8




                                             COTJNT IV
                                (Indemnification)
    Against the CITY OF THE CHICAGO and the CHICAGO POLICE DEPARMENT

       59.    Each of the forgoing paragraphs is incorporated as if fully restated herein.

      60.     At all relevant times, Defendants CITY OF CHICAGO and the CHICAGO

   POLICE DEPARTMENT was the employer of Defendant PHILLIP FOX.

      61.     In Illinois, public entities are directed to pay for any tort judgment for

   compensatory damages for which employers are liable within the course and scope of their

   employment activities.

      62.     Defendant PHILLP FOX committed the alleged acts under the color of law and

   in the course and scope of their employment with the CITY OF CHICAGO and the

   CHICAGO POLICE DEPARTMENT.

       63.    As a proximate cause of Defendant PHILLP FOX's unlawful acts, which

   occurred during the course and scope of their employment, Plaintiff suffered damages.

   WHEREF'ORE, should the individual Defendant be found liable, Plaintiff demands

   judgment against Defendant for compensatory damages, punitive damages, fees, and costs,

   and such other relief that this Court deems equitable and just.

   PLAINTIFF DEMANDS TRIAL BY JURY

   DATED:                                                    Respectfully Submitted,

                                                             J             OODSON, Plaintiff

                                                             By

                                                                  On His Own Behalf
Jarrad Woodson
ARDC # 6333s67
1928 W. Barry Ave #1
Chicago lL 60657
3r7-625-4676
